                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:22-CV-513-KDB-DCK

 SCHAEFER SYSTEMS                               )
 INTERNATIONAL, INC.,                           )
                                                )
                Plaintiff,                      )
                                                )
    v.                                          )      ORDER
                                                )
 ALOFT MEDIA, LLC, TODD                         )
 SCHMIDT, GEORGE STREET                         )
 PARTNERS, and GEORGE ANDREW                    )
 GORDON,                                        )
                                                )
                Defendants.                     )
                                                )

         THIS MATTER IS BEFORE THE COURT on the “Consent Motion To Extend

Defendant George Andrew Gordon’s Time To Respond To Plaintiff’s First Amended Complaint”

(Document No. 56) and the “Consent Motion To Extend Defendants George Street Partners And

Todd Schmidt’s Time To Respond To Plaintiff’s First Amended Declaratory Judgment

Complaint” (Document No. 57), filed March 17, 2023.

         These motions have been referred to the undersigned Magistrate Judge pursuant to 28

U.S.C. § 636(b), and immediate review is appropriate. Having carefully considered the motions

and the record, the undersigned will grant the motions. However, the undersigned respectfully

notes that the requested extensions are longer than the Court usually allows, and that further

extensions are unlikely.

         IT IS, THEREFORE, ORDERED that the “Consent Motion To Extend Defendant

George Andrew Gordon’s Time To Respond To Plaintiff’s First Amended Complaint” (Document




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No. 56) is GRANTED. Defendant shall file an Answer, or otherwise respond to the Amended

Complaint, on or before May 11, 2023.

       IT IS FURTHER ORDERED that the “Consent Motion To Extend Defendants George

Street Partners And Todd Schmidt’s Time To Respond To Plaintiff’s First Amended Declaratory

Judgment Complaint” (Document No. 57) is GRANTED. Defendants shall file an Answer, or

otherwise respond to the Amended Complaint, on or before May 11, 2023.




                               Signed: March 20, 2023




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